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                                     IJNITED STATESDISTRICTCOURT
                                    FOR THE DISTRICTOF NEV/ JERSEY


      COMMERCEBANCORP,LLC (fMa
      COMMERCEBANCORP,TNC.),
      TD BANK, N.A. andTD BANKNORTH INC.
                                                                  Civil ActionNo. 08 Civ.
                                     Plaintiffs.

                         V.                                                 COMPLAINT

     VERNONW. HILL, II,


                                     Ì l_Tl_1ll_
                                           _______________x
                    Plaintiffs CommerceBancorp, LLC (formerly known as CommerceBancorp,

     Inc.), TD Bank, N.A. and TD Banknorth Inc. (collectively, "Commerce Bank"), by and through

     their undersignedcounsel,for their Complaint againstdefendantVernon V/. Hill, il (,,Hill,'),

     allegeas follows:

                                           NATURE OF ACTION

                   1.         This is an action for violation of the U.S. TrademarkAct of 1946,as

     amended(the "Lanham Act"), 15 U.S.C. $ 1051,et seq.,including trademarkinfringement(15

     U.S.C' $ 1114(1)),and unfair competition(15 U.S.C.g I 125(a)),relatedclaimsarisingunderthe

     statutory and common law of the Stateof New Jerseyfor trademark infringement and unfair

     competition,copyright infringementunderthe U.S. Copyright Act,17 U.S.C. 101,et seq., and
                                                                            $
     breachof the Amended and RestatedEmployment Agreement between CommerceBancorp, Inc.,

     and Hill, datedJanuary1,2006 (the "Employment Agreement").

                   2.     CommerceBank brings this lawsuit becauseHill is intentionally

     infringing CommerceBank's trademarksand copyrights without CommerceBank's consent.
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  Hill has createdand publicly distributed a publication that prominently displays Commerce

  Bank's trademarksand copyrighted works and Hill threatensto compound this harm
                                                                                 by further
 distributing and publicly presentingsuchpublication at a banking industry conference
                                                                                     tomorrow
 before a potentialaudienceof hundreds,if not thousands,of conferenceparticipants.
                                                                                   Hill,s
 unlawful conduct causesconsumerconfusion, jeopardizesCommerce Bank's reputation
                                                                                            and the
 integrity of its intellectual property, and causesirreparabledamageto Commerce
                                                                                Bank. Hill,s
 conductviolatesfederal,stateand commonlaw, and is in breachof Hill's obligations
                                                                                 to
 CommerceBank. Accordingly, CommerceBank brings this action to preserveits good
                                                                                name
 and reputation and the integrity of its intellectual property, and to enjoin Hill,s
                                                                                     wrongful conduct.

                                          THE PARTIES

                3'      CommerceBancorp, LLC is a Delaware limited liability corporation with

 its principal place of businessin Cherry Hill, New Jersey,and a wholly owned
                                                                              subsidiary of TD
BanknorthInc. CommerceBancorp,LLC is the successorto CommerceBancorp,
                                                                     Inc., a leading
provider of banking and financial servicesand products. CommerceBank
                                                                     is well-known

throughout the United Statesfor its unique retail approachto banking, emphasis
                                                                              on convenience
and cultivation of customers. Its unique strategy-which featuresstandardized
                                                                            facilities,
convenienthours, exceptional customerservice,and aggressivemarketing-has
                                                                                   helped
Commercedevelopits reputationas "America's Most ConvenientBank.', As
                                                                     of April 200g,
CommerceBank becamea wholly-owned subsidiaryof The Toronto-Dominion
                                                                   Bank (.,TD,,),a
Canadiancharteredbank serving more than 14 million customersin Canada,
                                                                      the U.S., and

around the world.

               4.     TD Bank, N.A. is a nationalbanking associationorganizedunder the laws

of the United Statesheadquarteredin V/ilmington, Delaware with principal
                                                                         offices in Cherry
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  Hill, New Jerseyand Portland, Maine, and is an indirectly wholly-owned subsidiary
                                                                                    of TD. As
  part of TD's acquisition of CommerceBank, the U.S. banking subsidiaries
                                                                         of both TD and

  CommerceBank, which include Commerce's retail branches,were combined
                                                                       into TD Bank.
 N.A.

                   5'    Vernon W' Hill, II is the former Chairman and CEO of CommerceBank,

 and was terminatedfrom his position effectiveJuly 3 1,2007 in connection
                                                                         with Commerce
 Bank's entry into a Consentorder with the office of the Comptroller of
                                                                        the Currency and a
 Memorandum of Understandingwith the Federal ReserveBank of philadelphia
                                                                         regarding
 related-partytransactionsand other matters. Upon information and belief
                                                                         Hill is curently the
 chairmanof a consultingcompanycalledHill-Townsend and is a resident
                                                                    of the Stateof New
 Jersey.

                                  JURISDICTION      AND \¡ENUE

               6'       This Court has subject matter jurisdiction over this action pursuantto 2g

U'S'C' $$ 1331and 1338(a),as CommerceBank allegessubstantialclaims
                                                                   for trademark
infringement and unfair competition arising under the Lanham Act
                                                                     and for copyright
infringement under the Copyright Act. This Court has supplementaljurisdiction
                                                                              over the related
stateand commonlaw claimspursuantto 28 u.s.c.
                                                      $$ l33s(b) and 1367(a),as the stateand
cofilmon law claims are claims of unfair competition and breachof contractjoined
                                                                                 with
substantialand related claims under the federal trademark and/or copyright
                                                                           laws    and/or are so
related to the federal trademarkand./orcopyright claims so as to constitute
                                                                              part of the samecase

or controversy.

              7'        This Court haspersonaljurisdiction over Hill pursuantto N.J. Civ. R. 4:4-

a(a)(l) because,upon information and belief Hill residesin Moorestown
                                                                     Township,New Jersey.
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               8.      In addition,pursuantto Section18.9of the EmploymentAgreement,both

 CommerceBank and Hill voluntarily, knowingly, and expresslyconsentedto the exclusive

jwisdiction of either the Superior Court of CamdenCounty or this Court to enforce that

 Agreement or resolve any related claim, controversy,or dispute.

               9.      Venue is proper in this district pursuantto 28 U.S.C. $ 1391(b)(1)and

 (bX2) becauseHill residesin this District and becausea substantial partof the eventsand

conduct giving rise to this action have occurredand/or will occur in this district.

                                  FACTUAL BACKGROUND

CommerceBønk Owns Vøluøble Trademørks ønd Copyrights

               10.     For many years,CommerceBank has usedthe brand namesCOMMERCE

BANK, PENNY ARCADE, and other "Commerce" trademaïks,including the red "C" logo and

"Penny" character(collectively, the "Commerce Marks"), to identify CommerceBank and the

products and servicesoffered by it. In recognition of the valuable rights that CommerceBank

has thereby acquired,the United StatesPatentand Trademark Office has issuednumerous

trademarkregistrationsto CommerceBank, granting it the exclusive right to use the red ,,C', logo

ñ
-w'     (Reg.Nos.2,506,199;3,068,258),
                                  COMMERCE(2,084,001),
                                                    COMMERCEBANK

(Reg.No. 3,214,418),PENNY ARCADE (Reg.No. 3,r02,10r) and other trademarksin

connectionwith banking and financial products and servicesin the United States. Printouts of

theseregistrationsfrom the USPTO website are attachedhereto as Exhibit A. These

registrationsare valid and in full force and effect. By virtue of Commerce Bank's longstanding

and continuoususe,two of theseregistrations(Reg.Nos. 2,506,I99;2,084,001)have achieved

incontestablestatusunder section 15 of the LanhamAct, l5 u.s.c. $ 1065.
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                 11.    Additionally, CommerceBank possesses
                                                           common law rights in such

  trademarks,under both New Jerseyand federal law.

                12.     Since its inception, CommerceBank has investedheavily to develop and

 maintain a unique banking network characterizedby unparallel customerservice,
                                                                               free pENNy
 ARCADE coin counting machinesin bank branches,extendedhours and other
                                                                       featuresthat

 differentiate CommerceBank from its competitors. This has helped Commerce
                                                                          develop its
 reputationas "America's Most ConvenientBank.,'

                13.     CommerceBank has devoted substantialresourcesand effort to establish

 the reputation of its banking network and to develop the CommerceMarks
                                                                        in the public mind.
 CommerceBank has spent a significant amount marketing, advertising and promoting
                                                                                      the
 CommerceMarks through various methods,including newspaper magazine.
                                                         ,         television and
 Internetadvertising. It hasdistributedmillions of piecesof direct mail and point-of-sale

materials and consistentlymaintained a comprehensivewebsite to increase
                                                                       consumerexposureto
its productsand services.

               14-     In2007 alone, CommerceBank spent a significant amount on such

marketing activities in the United States. CommerceBank's promotion of
                                                                          its products and
servicesconsistentlyfeaturedthe CommerceMarks.

               15'     By virtue of CommerceBank's efforts, including its exclusive,continuous

and substantialuse, and continuousand extensivemarketing and advertising,
                                                                            the Commerce
Marks have gainedwidespreadrecognitionas a distinctivedesignationof products
                                                                            and services
uniquely associatedwith CommerceBank, and have come to identify
                                                                CommerceBank and
products and servicesprovided or authorizedby it. Such marks
                                                             are invaluable symbols of the
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  goodwill of commerce Bank's business,and
                                           are recognizedby consumersthroughoutthe United

  States.

                 16'    CommerceBank also owns various copyrighted materials,
                                                                              including       the
  graphical representationof its "Penny" characterfor
                                                      the pENNy ARCADE coin counters,and

  original versionsof certain of the photographs,maps and/or
                                                             slides found in the presentation
  attachedhereto as Exhibit B ("commerce copyrighted
                                                     Materials"). Thesematerials are original
 works of authorship,protectedby u.S. copyright law,
                                                     and commerceBank is applying         on an
 expeditedbasisto obtain a registration certificate for
                                                        them at the united states copyright office.



                17'    On Januaryl,2006,Hilt and CommerceBank entered
                                                                     into the
 EmploymentAgreement("EmploymentAgreement").
                                             Pursuantto Sectiont g.9, Hill agreesto
 submit to the exclusivejurisdiction of the Superior
                                                    court, Law Division, camden county, New
 Jerseyor the united statesDistrict court for the District
                                                           of New Jersey,camden vicinage, to
resolve any claims or disputesinvolving the Employment
                                                       Agreement.

               18'     Section15'1 of the EmploymentAgreementforbids
                                                                            Hill, exceptwith the
prior written consentof commerce Bank's board,
                                              to directly or indirectly .,disclose,

communicateor diwlge Company Information to
                                            any Personother than authorized          Commerce
personnel,"or "[u]se CompanyInformation for
                                            the benefitof himself     or any other person,other
than authorizedCommercepersonnel." Section15.1
                                              defines"Company Information,,as.,all
datarelatingto Commerce'sbusinessthat is not generally
                                                      publishedor availableto the public,,,
including "financial information," or "other materials
                                                       embodying trade secrets,custornerproduct
information,or technicalor businessinformation of
                                                  commerce." Thereis no end datefor Hill,s




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  obligationsunder Section15.1. Instead,they exist during the term of the
                                                                          Employment

  Agreement and at "any later time.',

                 19.     In addition, Section 15.2of the EmploymentAgreementprovidesthat

 during the contract term, Hill will not, except with the expressprior written
                                                                               consentof
 CommerceBank's board,directly or indirectly,"engagein any act or action
                                                                         which           he, acting
 reasonably,believesor shouldbelievewould be harmful or inimical to
                                                                    the interestsof

 commerce." section 15.2 appliesto Hill's acting in .,any capacity,,,including
                                                                               that of an
 "employee, owner, partner, consultant,agent, director, officer,
                                                                   [or] shareholder.,,
                20.     Hill also agreed,pursuantto Section15.4of the EmploymentAgreement,

 that any breachby him of any of the terms of Section 15 would
                                                               "result in irreparableinjury to
 Commercefor which money damagescould not adequatelycompensate
                                                             Commerce.,,Section
 15'4 expresslyprovidesthat in the eventof the breachof any provision
                                                                      of Section15, Commerce
 is entitled, among any other applicableremediesit may have, "to have
                                                                      an injunction issuedby
any competentcourt enjoining and restraining Hill and,/orany other person
                                                                          involved from
continuingsuchbreach.',

Commerce Bank Dìscovers the presentatìon

               2l'      On Thursday,November 13, 2008, CommerceBank learnedaboutthe

content of a presentationthat Hill is scheduledto make as a speaker
                                                                   at the 200g BAI Retail

Delivery Conference& Expo (the "Conference") in orlando, Florida.
                                                                  The Conferenceadvertises
itself as "the largest retail financial servicesevent in the world" and
                                                                        claims to have nearly 6,000
participantsannually.
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                22.     Hill's conferencesession,which is scheduledfor Tuesday,November
                                                                                        1g,
  at2:30 p.m., is entitled"Banking on Retail" and is describedin the publicly
                                                                                availableagendafor
  the Conferenceas follows:

                As the founder and former cEo of cofirmerce Bancorp, vernon
                Hill revolutionizedthe retail banking businessby looking to the
                retail industry for inspiration and differentiation, includiãg
                innovations such as extendedweekend and branch hours *¿ fr."
                coin counting. In a conversationwith Tom Brown, Hill will share
                his perspectivesand extensiveexperience.

                23'    Using the websiteavailableto registeredConferenceparticipants,

 CommerceBank discoveredthat BAI had posted an advancecopy of powerpoint
                                                             a           presentation
 for Hill's November l8 session(the "Presentation").The twenty-six
                                                                   slide presentationis
 entitled "Back to the Future: The New American Banking System." Following
                                                                           a handful of
 introductory slides regarding the banking industry's experiencesin 2008
                                                                           and the generalfeatures
 of the "Next Great Bank," the Presentationthen turns to discussingthe philosophy
                                                                                  and successes
of CommerceBank in detail.




               24.    Nearly half of the pagesof the Presentationprominently feature

CommerceBank's registeredand incontestablered "C" logo trademark,
                                                                which the public
strongly associateswith CommerceBank. In addition, the Presentation
                                                                   makesnumerous,
unauthorizeduse of the COMMERCE BANK and PENNY ARCADE
                                                      trademarks,usesa color

schemeof blue, red and white in shadesthat exactly match those in Commerce
                                                                          Bank,s
proprietary trade dress,and usesthe distinctive type font of commerce
                                                                      Bank.

              25-     The Presentationalso refersto "The CommerceModel,'and,.The

CommercePhilosophy" without any explanationthat Hill no longer represents
                                                                         or is affiliated
with CommerceBank.
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               26.    At no point doesthe Presentationcontain any disclaimers or clarifications

that Hill has not been affiliated with CommerceBank for nearly 18 months.

               27.    Hill is intentionally attemptingto mislead and confusepotential

consumersand capitalize on CommerceBank's goodwill and intellectual property rights. A

significantportion of the consumingpublic is likely to be misled and confusedby Hill's

unauthorizeduses,as describedabove,andloris likely to believethat Hill is associatedor

affrliatedwith CommerceBank. Indeed,Hill's pastassociationwith CommerceBank greatly

heightensthis risk.

               28.    Basedon the foregoing,the Presentationis highly likely to confuse

consumersthat Hill and his new venture are associatedor affiliated with or are endorsedor

sponsoredby CommerceBank. In fact, however, CommerceBank severedits ties with Hill

nearly 18 monthsago.

The PresentøtionInfringes CommerceBønh's Copvrights

              29.     The Presentationconstitutesan unauthorizedreproduction, distribution

and public displayof the CommerceCopyrightedMaterials. The Presentationincludes,inter

alia, unauthorizedverbatim or substantiallyverbatim reproductionsof: (i) a detailed,highly

graphical map that depicts CommerceBank locations in the EasternUnited States,using dozens

of the distinctive red "C" logo trademarks,(ii) multiple CommerceBank-owned photographs,

including one featuring the "Penny Alcade" coin counter and the "Penny" character,and/or (iii)

multiple CommerceBank-ownedpresentationslides. CommerceBank at no time consentedto

Hill's inclusionof the foregoingcontentin the Presentation.




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                     30'      upon reviewing the Presentation,commerce
                                                                           Bank immediately concluded
   that it incorporatessubstantialcommerce
                                           Bank intellectual property, to      which Hill has no rights
   whatsoever' commerce Bank contacted
                                      Hill, throughhis counsel,to requestthat he
                                                                                 excise
   commerce Bank's trademarks,copyrighted
                                                  material, and other intellectual property,
                                                                                               as well as
  non-public information about its operations,
                                              from the presentation.

                  31'        Later in the afternoonof November 14,
                                                                     zl)B,Hill,s counseladvisedthat
  Hill would agreeto remove all iterations
                                           of the red "c" logo from the presentation,
                                                                                     but would
  not agreeto remove the other objectionable
                                                content. Given the range and extent of Hill,s
  infringement of its intellectual property
                                            rights, this minimal offer did not address
                                                                                      the full range of
  the Presentation,s violations.

                 32'        Also, on Friday, November 74,2})L,commerce
                                                                             Bank sentHill a cease
 and desistletter outlining his willful infringement
                                                     of commerce Bank,s intellectual properfy
                                                                                                     and
 requestingthat Hill "(i) revise the Presentation
                                                 to ceaseany and all unfair competition
                                                                                        or
 infringement of commerce Bank's intellectual
                                                    property; (ii) alert BAI to deactivate
                                                                                          its website
 link to the Presentationin its current form;
                                                and (iii) provide assurancesto commerce
                                                                                            Bank that
[he] will not further infringe its rights or attempt to confuse
                                                                  the audienceat the BAI conferenceon
November 18' 2008 as to his current non-affiliation
                                                          with commerce Bank.,, The letter further
advisedHill that a representativeof commerce
                                                   Bank would attendhis November lg session,
                                                                                                   and
demandeda responseby 5:30 p.m. on Friday.

               33'         Hill's counselemailedaf 5:25 p.m., stating
                                                                     that they would respondearly
next week' commerce Bank's counselreplied
                                          that         this timing would be inadequareto ensure
                                                                                               that
commerce Bank's rights are not violated, given
                                                   that Hill is scheduledto deliver the presentation




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   in orlando on Tuesdayafternoon. Later on Friday
                                                   evening,     November 14, Hill,s counsel again
   contactedcommerce Bank's counsel,who went
                                             through the presentationpage-by-pageand

  detailed its infringing content' However, as of
                                                  this moming, neither Hill nor his counselhas

  committed to comply with the requestscommerce
                                                Bank made in its November 14 letter.



                 34'    The Presentationpresentsa particularlyhigh risk
                                                                           of confi.lsionin light of
  Hill's currentactivitiesand associations.

                 35'    Specifically,sincehis terminationfrom Commerce
                                                                      Bank, Hill has
 reportedly tumed to consulting in the financial
                                                 servicesindustry. In June 200g,Hill, as head
                                                                                              of
 an investorgroup,purchased$10.8million in convertible
                                                      trust preferredsecuritiesissuedby
 RepublicFirst Bancorp.("Republic First"). In
                                              July, Hill investedan additional$6 million in
 RepublicFirst' Together,thesetransactionsmade
                                                Hill one of RepublicFirst,s largest
 shareholders' According to industry publications,
                                                     Hill also servesas a consultantto Republic
 First under a four-year consulting agreement
                                            that began sometimethis year.

                36'    On Monday, November 10,2008,Pennsylvania
                                                              CommerceBancorp
announcedan agreementto buy Republic First
                                           in an all-stock transaction. The resulting entity,
which reportedlywill be known as Metro Bancorp.
                                               Inc., will have45 branchesin central
Pennsylvaniaand the metropolitanPhiladelphia
                                             area.under       the agreement,Hill will remain
both a consultantfor the new combined entity
                                             and one of its largest shareholders.

               37-     pennsylvaniacommerce
                                                 Bancorp is the parent of commerce
Bank/Ha:risburg, which has certain rights to
                                               use commerce Bank,s trademarkspursuant
                                                                                     to
existing agreementswith CommerceBank that
                                          are currently being renegotiated.




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                   38'     Especiallyin light of the pendingmerger
                                                                  betweenpennsylvania
   commerce and Republic First, the Presentation
                                                holds the potential to seriously mislead and
   confuse attendeesof the conference and
                                          other recipients of the presentationas to Hill,s

   associationwith commerce Bank and/orhis
                                           right to use its trademarksand other intellectual
  property' Hill is well aware of the emerging
                                               and complex issuesarising from the Republic
                                                                                           First
  acquisition, which only servesto heighten
                                            his culpability for the conduct describedherein.


                            Trademark
                                   r"*ffir         Federar
                                                        Law
                                   (rsu.s.c.g 1114(1)
                  39'     commerce Bank repeatsand reallegesparagraphs
                                                                      I through 3g above bv
  referenceas if fully set forth herein.

                 40'      CommerceBank owns valid federal registrations
                                                                       to the COMMERCE.
 COMMERCE BANK, pENNy ARCADE
                             and red,,c,,rogo trademarks.

                 4l'     Thesetrademarkregistrationsare valid and
                                                                  subsisting,and two of these
 registrations(Reg' Nos' 2,506,799;2,084.001)
                                            have       achievedincontestablestatusunder section
 15 of the LanhamAcr, l5 U.S.C. 1065.
                               $

                42'      Hill has used and plans to continue using
                                                                   such trademarksin interstate
commerceto identify servicesand products
                                         that competewith those offered by commerce
                                                                                    Bank
and/or in connectionwith the advertising
                                         and promotion of such goods.

                43'      Hill's conductas allegedaboveconstitutes
                                                                the unauthorizedusein
commercein the united Statesof a reproduction,
                                             copy and/orcolorableimitation          of such
trademarksin connectionwith the sale,
                                        offering for sale,distribution or advertising
                                                                                      of its services
and products' and has causedand/or is likely
                                              to causeconfusion or mistake or deception
                                                                                            of the




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 public as to the sourceor origin of suchgoodsin violation of Section32(l) of the LanhamAct,

 l5 U.S.C.$ 1l l4(l). Suchconducris willful and intentional.

                44'     Hill's conductas allegedabovehas causedand/orwill causeCommerce

 Bank to suffer injury, which cannot adequatelybe compensatedwith money damages. Unless

 Hill is preliminarily and permanently enjoined from such further conduct, CommerceBank will

 suffer irreparableharm. Therefore, CommerceBank is entitled to (i) injunctive relief under l5

 U'S.C. $ 1116and (ii) its actualdamages,Hill's wrongful profits, and (due to the exceptional

 misconductby Hill) an award of its costsand reasonableattorney'sfeeswrder l5 U.S.C.
                                                                                     $
 rI17(a).


                                     SECOND COUNT
                            Unfair Competition Under Federal Law
                                         (ls U.s.C.g 112s(a))

               45-     CommerceBank repeatsand reallegesparagraphsI through 45 aboveby

referenceas if fully set forth herein.

               46.     CommerceBank owns valid and exclusiverights to the COMMERCE,

COMMERCE BANK, PENNY ARCADE and red "C" logo trademarksin connectionwith

banking and financial products and services,which, by virnre of their use by CommerceBank in

connectionwith such products and services,have gained widespreadconsumerrecognition and

have developedvaluablegoodwill associatedtherewith.

               47'     Hill's conductas allegedaboveconstitutesthe unauthorizeduse of such

trademarks,and has causedand/or is likely to causeconfusion as to (i) the afhliation, connection

and./orassociationof CommerceBank with Hill, and./orproducts and servicesoffered by Hill;

(ii) the sourceand origin of Hill's productsand services;and/or(iii) the sponsorship,

endorsementor approval of Hill or his products and servicesby CommerceBank, in eachcasein



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  violation of Section43(a) of the LanhamAct, 15 U.S.C. g l l25(a).
                                                                    Suchconductis willful and
  intentional.

                   48'     Hill's conductas allegedabovehas causedand/orwill causeCommerce

  Bank to suffer injury, which cannot adequatelybe compensated
                                                              with money damages. unless
  Hill is preliminarily and permanentlyenjoined from such further
                                                                  conduct, CommerceBank will
  suffer irreparableharm' Therefore, commerce Bank is entitled (i)
                                                              to   injunctive relief under 15
  U'S'C' $ 1116and (ii) its actualdamages,Hill's wrongful profits,
                                                                   and (due to the exceptional
  misconductby Hill) an award of its costsand reasonableattorney's
                                                                  feesunder l5 U.S.C. $
  1117(a).

                                         THIRD COUNT
                          __ _Unfair Competition Under New Jersey Law
                         (N.J. Unfair Competition Statute, N.J.S.A. g 56:4-f)

                  49'     CommerceBank repeatsand reallegesParagraphsI through
                                                                               4g above by
 referenceas if fully set forth herein.

                  50'    Hill's conductas allegedaboveconstitutesthe commission
                                                                               of unfair
 competitionin the Stateof New Jersey,in violation of Section
                                                              56:4-l of the New JerseyUnfair
 Competition Statute.

                 51'     Hill's conductas allegedabovehas causedand/orwill cause
                                                                                Commerce
Bank to suffer injury, which cannot adequatelybe compensated
                                                            with money damages. unless
Hill is enjoined or restrainedfrom such further conduct, Commerce
                                                                  Bank will suffer irreparable
harm.

                                          FOURTH COUNT
                                         w                      NG
                 52.     CommerceBank repeatsand reallegesparagraphsI through
                                                                              5l aboveby
referenceas if fully set forth herein.



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                 53.    As allegedabove,Hill's conductand unauthorizeduse of Commerce

 Bank's trademarksin connectionwith the marketing, distribution, advertising and/or promotion

 of its servicesand products constituteinfringement and misappropriation of Commerce
                                                                                    Bank
 trademarksin violation of CommerceBank's rights under the common law of
                                                                         the Stateof New

 Jersey.

                54'     Hill's conductas allegedabovehas causedand,lorwill causeCommerce

 Bank to suffer injury, which cannot adequatelybe compensatedwith money
                                                                        damages. Unless

 Hill is enjoined or restrainedfrom such further conduct, CommerceBank will
                                                                            suffer irreparable
 harm.

                                          FIFTH COUNT
                                     Copyright Infringement
                                     (f 7 U.S.C.g l0t, et seq.)

               55.     CommerceBank repeatsand reallegesparagraphsI through 54 aboveby

referenceas if fully set forth herein.

               56-     CommerceBank owns the copyrights to the CommerceCopyrighted

Materials,which are original works of authorshipand protectedby U.S. copyright
                                                                               law.
CommerceBank is applying for a registration certificate for such works on an
                                                                             expeditedbasisat
the United StatesCopyright Office.

               57.     Hill's unauthorizedcopying,distribution,and/orpublic display of the

CommerceCopyrighted Materials, through the Presentation,infringes Commerce
                                                                           Bank,s
exclusiverightsunderSections106(l), (3) and (5) of the CopyrightAct, l7 U.S.C.
                                                                               $ 106(l), (3)
& (5), and therefore constitutescopyright infringement under Section 501(a)
                                                                              of the Copyright
Acr,17 u.s.c. g 501(a). such infringementis willful and intentional.




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                58.     Hill's continuingactsof copyright infringement,unlessenjoined,will

 causeand have causedirreparabledamageto CommerceBank. CommerceBank is entitled to

 injunctive relief under 17 U.S.C. g 502(b).

                59.     CommerceBank also is entitled to recover all actual damagessuffered by

 CommerceBank and any profits wrongfully receivedor otherwiseachieved,directly or

 indirectly,by Hill in connectionwith his copying, distributing, andlorpublicly displayingthese

 works through the Presentation,as well by any other of Hill's actions that violate Commerce

 Bank's exclusiverightsunder 17 U.S.C.$ 106. l7 U.S.C.g 50a(a)(1)e
                                                                   Q). In the alternative,
 CommerceBank may be entitled to an award of statutory damagesas provided for in l7 U.S.C.
                                                                                           $
 504(c),with an enhancementdue to Hill's willful infringement. CommerceBank is also entitled

to an awardof its costsand attorneys'feesunder 17 U.S.C. $ 505, basedon the circumstancesof

this case.

                                          SIXTH COUNT
                                         Breach of Contract

               60.     CommerceBank repeatsand reallegesparagraphsI through 59 aboveby

referenceas if fully set forth herein.

               61'     The Employment Agreement constitutesa binding and legally enforceable

agreementbetweenHill and CommerceBank, and contractually bars Hill from using or

disclosingnon-publicCompanyInformation. Suchobligation appliesto Hill during the term of

the agreementand thereafter. The agreementfurther provides that Hill may not engagein any

act that he "believes or should believe would be harmful or inimical to the interestsof

Commerce."

               62.     Hill has breachedthe Employment Agreement becausea reasonable

personwould have believedor shouldhavebelievedthat the use of CommerceBank's



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intellectualpropertyandbusinessinformationin the Presentation
                                                            wasunauthorizedandwouldbe

harmfulor inimicalto CommerceBank'sinterests.

              63.   As a resultof Hill's breach,CommerceBank hassustainedmonetaryand

otherdamagesin an amountto be determinedat trial.




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                                     PRAYER FOR RELIEF

                 WHEREFORE, Plaintifß hereby respectfully requestrelief as follows:

           A.   that judgment be enteredin their favor and againstHill;

           B.   that Hill and eachof his agentsand affiliated entities be preliminarily and

permanentlyenjoined and restrainedfrom (i) infringing any trademarks and/orproprietary trade

dressof CommerceBank, in the Presentationor otherwise: (ii) making any designationof origin,

descriptionsor representations,in the Presentationor otherwise,indicating or suggestingthat

CommerceBank is the sourceor sponsorof, or in any way has endorsedor is affiliated with any

service or product distributed, promoted, marketed or sold by Hill or its agentsor affiliated

entities; (iii) infringing any of the CommerceCopyrighted Materials, in the Presentationor

otherwise; and (iv) disclosing any non-public, proprietary information owned by Commerce

Bank;

           C.   that Hill be orderedto accountto Plaintiffs for all gains and profits obtainedby

him as a result of his trademark infringement and unfair competition, and that Plaintiffs be

awardedboth (i) their actual damagesand (ii) restitution in the amount of all such gains and

profits;

           D.   that Hill be orderedto accountto Plaintiffs for all gains and profits obtainedby

him as a result of his copyright infringement, and that Plaintiffs be awardedboth (i) their actual

damagesand (ii) restitution in the amount of all such gains and profits, or in the alternative,an

awardof statutorydamagespursuantto 17 U.S.C. $ 50a(c);

        E.      that Plaintiffs be awardedtheir actual damagesarising from Hill's breach of the

Employment Agreement;




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       F.      that Plaintiffs recover enhanceddamagesfor their trademark and copyright claims

due to the willful and intentional nature of Hill's misconduct;

       G.      that Plaintiffs be awardedtheir full costsand reasonableattorney's fees for this

action;and

       H.      that the Court award such other and fuither relief to Plaintiffs as the Court deems

to bejust and proper.




Dated: Westmont,New Jersey
      November17"2008

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                                                     360 HaddonAvenue
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                                                     Westmont,New Jersey08108
                                                     (8s6)8s4-8900

                                                     OF COUNSEL:

                                                     SIMPSONTHACHER & BARTLETT LLP
                                                     Lynn K. Neuner
                                                     Lori E. Lesser
                                                     425 LexingtonAvenue
                                                     New York,NY 10017
                                                     (212)4ss-2ooo

                                                   Attorneysþr CommerceBancorp LLC (f/lla
                                                   CommerceBancorp, Inc.), TD Bank, N.A. and
                                                   TD BanlcnorthInc.




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Owner               (REGISTRANT) CommerceBancorp,lnc. CORPORATIONNEWJERSEYMarketing
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Attorney of Record DanenB, Cohen,Esq.
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Owner             (REGISTRANT) CommerceBancorp,Inc.CORPORATION
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                  GherryH¡llNEW JERSEY080345400
Attorney of
Record            DanenB. Gohen,Esq.




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Attorney of Record Danen B. Cohen,Esq.
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